                                                                                  1/3/20
                      IN TH E U N ITE D STA TES D ISTR IC T C O UR T
                          W EST ERN D ISTR ICT O F VIR G INIA
                                 A BIN G D O N D IW SIO N

 U NITED STA TES O F A M ER ICA

                 V.                                     C A SE N O .1:19cr00016

 INDIVIOR INC.(a/k/aReckittBencltiser
      PharmaceuticalsInc.)and
 IN DIW O R PLC

                                         O R D ER

         Uponm otion ofdefendantsIndiviorInc.alld IndiviorPLC,based on therecordherein and

 forgoodcauseshown,itisherebyORDERED thatExhibitsA andB totheDefendants'Objections
 totheDenialofRule 17(c)SubpoenasforKey AgencyM aterialsRelevantto DoctorsA-D are
 SEA LED untilany furtherO rderofthe Court.



 ENT ER : January 3,2020.


                                           By:
                                                 U ' d States Dis ctJudge




Case 1:19-cr-00016-JPJ-PMS Document 269 Filed 01/03/20 Page 1 of 1 Pageid#: 2409
 23059/1/9153928v1
